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 8                                                    UNITED STATES DISTRICT COURT

 9                                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                        No. 1:13-cr-00136 AWI BAM
12                                       Plaintiff,
13                            v.                                      ORDER RECONVEYING PROPERTY
                                                                      BOND
14   SARITH CHIM,
15                                       Defendant.
16

17                            As the documents offered in support of the property bond in this matter do not comply

18   with the Court’s requirements. IT IS HEREBY ORDERED that the property bond posted, Deed

19   of Trust #2013000511039, in the amount of $60,000 secured by equity in property owned by

20   Poun Keo and Trisha R. Keo for defendant Sarith Chim, be reconveyed.

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     IT IS SO ORDERED.
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                           Dated:    September 12, 2013                      /s/   Michael J. Seng
25                                                                        UNITED STATES MAGISTRATE JUDGE
     DEAC_Signature-END:




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